Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 1 of 34




           EXHIBIT 18
      Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 2 of 34


                  KATHY NUEBEL KOVARIK - 08/03/2018                        ·

 ·1· · · · · · · ·UNITED STATES DISTRICT COURT
 ·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA
 ·3· · · · · · · · · · · SAN FRANCISCO
 ·4· ·- - - - - - - - - - - - - - - - -x
 ·5· · CRISTA RAMOS, et al.,· · · · · :
 ·6· · · · · · · · · · · Plaintiffs,· :· Case No.
 ·7· · · · · v.· · · · · · · · · · · ·:· 3:18-cv-1554-
 ·8· · KIRSTJEN NIELSEN, et al.,· · · :· EMC
 ·9· · · · · · · · · · · Defendants.               :
 10· ·- - - - - - - - - - - - - - - - -x
 11
 12
 13· · · · · · · · ·VIDEOTAPED DEPOSITION OF
 14· · · · · ·U.S. DEPARTMENT OF HOMELAND SECURITY
 15· · · · · By and Through Its Corporate Designee
 16· · · · · · · · · ·KATHY NUEBEL KOVARIK
 17· · · · · · · · · · ·Washington, D.C.
 18· · · · · · · · · Friday, August 3, 2018
 19· · · · · · · · · · · · 9:35 a.m.
 20
 21
 22
 23· ·Job No.:· LA-185448
 24· ·Pages 1 - 289
 25· ·Reported By:· Joan V. Cain


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com
     Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 3 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 37

 ·1· ·currently in the review process by the magistrate                            10:14:31
 ·2· ·judge and have been part of ongoing discussions with                         10:14:36
 ·3· ·opposing counsel, but we certainly have reviewed the                         10:14:39
 ·4· ·letter and -- and take the concerns expressed into                           10:14:43
 ·5· ·account.                                                                     10:14:47
 ·6· ·BY MS. MACLEAN:                                                              10:14:54
 ·7· · · Q· · Did you prepare any notes in preparation                             10:14:54
 ·8· ·for your deposition today?                                                   10:14:57
 ·9· · · A· · During conversations yesterday and on                                10:15:02
 10· ·Wednesday, I did take notes to remind myself of                              10:15:04
 11· ·certain facts regarding the four TPS designations at                         10:15:09
 12· ·hand.                                                                        10:15:17
 13· · · Q· · Did you bring those with you today?                                  10:15:18
 14· · · A· · I do not have them.                                                  10:15:20
 15· · · Q· · In total how long have you spent preparing                           10:15:48
 16· ·for today's deposition?                                                      10:15:50
 17· · · A· · I'd say approximately ten hours.                                     10:16:08
 18· · · Q· · How would you define that time -- divide                             10:16:12
 19· ·that time?                                                                   10:16:14
 20· · · · · ·MR. TYLER:· Objection, vague.                                        10:16:14
 21· · · · · ·THE WITNESS:· How would you like me to                               10:16:21
 22· ·define that time?                                                            10:16:23
 23· ·BY MS. MACLEAN:                                                              10:16:23
 24· · · Q· · Well, you spent -- just to be clear, you                             10:16:24
 25· ·spent a few hours in deposition prep I guess over a                          10:16:26


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
     Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 4 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 38

 ·1· ·couple of days, and then it sounds like you may have                         10:16:30
 ·2· ·spent maybe three or four hours reviewing documents.                         10:16:32
 ·3· ·Is that accurate?                                                            10:16:36
 ·4· · · A· · Maybe six or seven with counsel and maybe a                          10:16:37
 ·5· ·few hours on my own looking at my own notes, talking                         10:16:43
 ·6· ·to myself.                                                                   10:16:48
 ·7· · · Q· · Great.· Thank you.                                                   10:16:51
 ·8· · · · · ·MS. MACLEAN:· So we'll mark the letter that                          10:16:56
 ·9· ·has been discussed that was sent by Rhett Martin to                          10:17:01
 10· ·Sean Commons as Exhibit 2 for the record.                                    10:17:06
 11· · · · · · · · ·(Deposition Exhibit 2 was marked for                           10:17:08
 12· ·identification.)                                                             10:17:18
 13· ·BY MS. MACLEAN:                                                              10:17:18
 14· · · Q· · What is your current position at USCIS,                              10:17:19
 15· ·Ms. Nuebel Kovarik?                                                          10:17:23
 16· · · A· · I am chief of the Office of Policy and                               10:17:25
 17· ·Strategy.                                                                    10:17:29
 18· · · Q· · And when did you begin that position?                                10:17:29
 19· · · A· · I was appointed to that position on April                            10:17:30
 20· ·2nd of 2017.                                                                 10:17:32
 21· · · Q· · What was your position before that?                                  10:17:34
 22· · · A· · I was special advisor to the secretary.                              10:17:38
 23· · · Q· · When did you begin that position?                                    10:17:41
 24· · · A· · Around January -- it might have been on                              10:17:43
 25· ·January 26, 2017.                                                            10:17:46


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
     Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 5 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 39

 ·1· · · Q· · Did you have any informal role with the --                           10:17:56
 ·2· ·with the department or with the administration                               10:17:59
 ·3· ·prior -- prior to January 26, 2017?                                          10:18:02
 ·4· · · · · ·MR. TYLER:· Objection, vague.                                        10:18:06
 ·5· · · · · ·THE WITNESS:· Define informal role.                                  10:18:08
 ·6· ·BY MS. MACLEAN:                                                              10:18:10
 ·7· · · Q· · Were you serving on any of the transition                            10:18:10
 ·8· ·committees or providing information to the secretary                         10:18:18
 ·9· ·or to the administration prior to that date?                                 10:18:23
 10· · · A· · I volunteered on the transition team.                                10:18:26
 11· · · Q· · When did you volunteer on the transition                             10:18:28
 12· ·team?                                                                        10:18:32
 13· · · A· · I don't know the exact date.· Up until --                            10:18:32
 14· ·until the inauguration, but I don't remember the                             10:18:36
 15· ·start date.                                                                  10:18:39
 16· · · Q· · Okay.· And what did you do during the time                           10:18:40
 17· ·that you were volunteering?                                                  10:18:44
 18· · · A· · I discussed immigration policies with the                            10:18:54
 19· ·transition team and prepared for the                                         10:18:56
 20· ·President-elect's first 100 days in office.                                  10:19:04
 21· · · Q· · Approximately how much time did you devote                           10:19:12
 22· ·to that volunteer role?                                                      10:19:15
 23· · · A· · I don't recall.                                                      10:19:19
 24· · · Q· · Could you give me your best guess?                                   10:19:21
 25· · · A· · Given that I don't know when I started, I                            10:19:25


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
     Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 6 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 40

 ·1· ·would say it was a couple of hours during the week.                          10:19:27
 ·2· ·I had a full-time job on top of that.                                        10:19:35
 ·3· · · Q· · Were you part of an immigration committee                            10:19:42
 ·4· ·or an immigration group?                                                     10:19:45
 ·5· · · A· · It wasn't an immigration group.· I don't                             10:19:47
 ·6· ·know if it had a formal name.                                                10:19:49
 ·7· · · Q· · Who else was part of that group?                                     10:19:51
 ·8· · · A· · There were several dozen or more                                     10:19:54
 ·9· ·individuals.                                                                 10:19:57
 10· · · Q· · Can you recall as many as possible?                                  10:19:58
 11· · · A· · Well, okay.· So on the transition team, a                            10:20:17
 12· ·number of people volunteered:· Kate Laborde,                                 10:20:18
 13· ·L-A-B-O-R-D-E; Andrea Loving; George Fishman;                                10:20:26
 14· ·Tiffany Cissna; Gene Hamilton; Jon Feere; John                               10:20:35
 15· ·Zadrozny; Lee Francis Cissna; Lora Ries; Tracy                               10:20:47
 16· ·Short.· I'm blanking on other names.                                         10:21:23
 17· · · Q· · Was Dimple Shah a part of that?                                      10:21:26
 18· · · A· · Dimple Shah.                                                         10:21:29
 19· · · Q· · Was Stephen Miller part of that?                                     10:21:30
 20· · · A· · I don't recall if he was.· I never saw him.                          10:21:33
 21· · · Q· · Was Jeff Sessions involved in that group?                            10:21:36
 22· · · A· · I don't -- I don't know.                                             10:21:39
 23· · · Q· · Was Steve Bannon?                                                    10:21:45
 24· · · A· · I don't know.                                                        10:21:46
 25· · · Q· · What were you involved with particularly --                          10:21:56


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
     Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 7 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 45

 ·1· ·workers?                                                                     10:28:38
 ·2· · · A· · Well, the H-1B Visa program, is one program                          10:28:41
 ·3· ·in particular that is rife with fraud and abuse, and                         10:28:47
 ·4· ·there are a number of legislative changes that need                          10:28:52
 ·5· ·to be made.· We were looking at what could be done                           10:28:54
 ·6· ·administratively to protect U.S. workers.· We had an                         10:28:58
 ·7· ·interest in making sure that foreign workers as well                         10:29:07
 ·8· ·as U.S. workers were protected and that employers                            10:29:10
 ·9· ·were living up to their obligation to pay the wages                          10:29:15
 10· ·that they claimed to pay and to ensure that                                  10:29:18
 11· ·employers were not benching U.S. citizen workers to                          10:29:26
 12· ·get around worker protections under the statute.                             10:29:29
 13· · · Q· · So after your time with the transition                               10:29:45
 14· ·team, you became a special advisor to DHS Secretary                          10:29:48
 15· ·John Kelly.· How -- how did you initiate that role?                          10:29:52
 16· · · A· · It was a logical outgrowth of I guess the                            10:29:58
 17· ·transition team.· I had applied, like everybody else                         10:30:00
 18· ·did, on the Whitehouse.gov web site to be involved,                          10:30:08
 19· ·and at the time they were looking for people to                              10:30:14
 20· ·start immediately upon inauguration and -- and there                         10:30:17
 21· ·was a group of people that started right away, also                          10:30:24
 22· ·known as the beachhead team.· We went in                                     10:30:29
 23· ·immediately, and I believe everyone was given the                            10:30:32
 24· ·same title of special assistant or special advisor                           10:30:34
 25· ·to the secretary.                                                            10:30:39


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
     Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 8 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 46

 ·1· · · Q· · Who else was part of that beachhead team?                            10:30:41
 ·2· · · A· · There's some overlap with a lot of the                               10:30:48
 ·3· ·transition team members, but there are many                                  10:30:50
 ·4· ·transition team members that did not.· I don't                               10:30:53
 ·5· ·recall exactly who started, but I can tell you                               10:30:58
 ·6· ·around the inauguration time, Gene Hamilton, Lora                            10:31:00
 ·7· ·Ries, Jon Feere, Julie Kirchner was part of the                              10:31:11
 ·8· ·beachhead, and I forgot she was on the transition                            10:31:20
 ·9· ·team, but I never communicated with Julie on the                             10:31:23
 10· ·transition team.· That's why I left her out.· Tracy                          10:31:25
 11· ·Short I believe started almost after the                                     10:31:30
 12· ·inauguration.· There were other members of the -- of                         10:31:33
 13· ·the, quote, homeland security beachhead team.                                10:31:49
 14· · · Q· · And what was your role during those first                            10:31:53
 15· ·three months before you took the position of chief                           10:31:57
 16· ·of the Office of Policy and Strategy?                                        10:32:02
 17· · · A· · There were two other individuals within the                          10:32:10
 18· ·U.S. Citizenship and Immigration Service that were                           10:32:15
 19· ·also on this beachhead team that were not on the                             10:32:18
 20· ·transition team, and so I worked with those two                              10:32:20
 21· ·individuals.                                                                 10:32:23
 22· · · Q· · Who were those individuals?                                          10:32:23
 23· · · A· · Craig Symons and Carl Risch.                                         10:32:24
 24· · · Q· · Carl Risch?                                                          10:32:29
 25· · · A· · Yeah.                                                                10:32:29


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
     Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 9 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 56

 ·1· ·documents, review anything -- any material that                              10:46:17
 ·2· ·comes before us.                                                             10:46:21
 ·3· · · Q· · So Mr. Prelogar has been with the                                    10:46:22
 ·4· ·administration -- been -- been with the department                           10:46:24
 ·5· ·since 2008?                                                                  10:46:26
 ·6· · · A· · At least.                                                            10:46:27
 ·7· · · Q· · Ms. Hamilton, how long has she been with                             10:46:28
 ·8· ·the department?                                                              10:46:32
 ·9· · · A· · She served in the INS, so she's been there                           10:46:32
 10· ·for a while.                                                                 10:46:35
 11· · · Q· · Okay.· And Mr. Law?                                                  10:46:36
 12· · · A· · He started approximately in October of                               10:46:41
 13· ·2017.                                                                        10:46:42
 14· · · Q· · Where had he been before?                                            10:46:46
 15· · · A· · Federation for -- I don't know the acronym,                          10:46:48
 16· ·but it's FAIR.                                                               10:46:56
 17· · · Q· · Is it Federation for American Immigration                            10:46:57
 18· ·Reform?                                                                      10:47:00
 19· · · A· · Sure.                                                                10:47:01
 20· · · Q· · And what was his role there?                                         10:47:01
 21· · · A· · I think he was a policy advisor.· He may                             10:47:08
 22· ·have been a registered lobbyist.· I -- I don't know                          10:47:11
 23· ·his exact title.                                                             10:47:13
 24· · · Q· · Am I missing anyone who had been involved                            10:47:22
 25· ·with the TPS?· I think not.                                                  10:47:24


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 10 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 57

 ·1· · · A· · To make it clear, Jacob Stubbs receives                              10:47:26
 ·2· ·material because when things come through our                                10:47:30
 ·3· ·executive secretariat Jacob works with them, and so                          10:47:35
 ·4· ·he may touch material.· He doesn't advise me on                              10:47:41
 ·5· ·these issues.· He does like to do research on                                10:47:43
 ·6· ·country conditions, but he really more deals with                            10:47:47
 ·7· ·the paperwork.                                                               10:47:51
 ·8· · · Q· · Mm-hmm.· Just to clarify, Mr. Levine had                             10:47:52
 ·9· ·been an advisor to the prior chief as well you had                           10:48:06
 10· ·said, right?                                                                 10:48:10
 11· · · A· · Yes.                                                                 10:48:11
 12· · · Q· · Can you describe your job responsibilities                           10:48:11
 13· ·generally?                                                                   10:48:13
 14· · · A· · Sure.· As chief I oversee subject matter                             10:48:17
 15· ·experts in all areas of immigration under the                                10:48:26
 16· ·portfolio of USCIS.· Our office oversees the policy                          10:48:29
 17· ·manual, policy memorandum, guidance, Federal                                 10:48:38
 18· ·Register Notices.· It is our job to review all                               10:48:50
 19· ·documents related to policy generally, and my job is                         10:48:51
 20· ·also to advise the director on issues related to                             10:48:57
 21· ·policy.· I work with operators and counsel.                                  10:49:00
 22· · · Q· · Sorry.· When you say operators and counsel,                          10:49:11
 23· ·what do you mean?                                                            10:49:14
 24· · · A· · I work with other directorates that have                             10:49:14
 25· ·adjudicatory responsibilities.                                               10:49:17


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 11 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 58

 ·1· · · Q· · Okay.· What is your decision-making                                  10:49:19
 ·2· ·authority at USCIS?                                                          10:49:29
 ·3· · · · · ·MR. TYLER:· Objection, vague.                                        10:49:31
 ·4· · · · · ·THE WITNESS:· My decision-making                                     10:49:39
 ·5· ·authorities, can you clarify?· What I make decisions                         10:49:41
 ·6· ·on?                                                                          10:49:45
 ·7· ·BY MS. MACLEAN:                                                              10:49:45
 ·8· · · Q· · Yes.· What you have the -- the authority                             10:49:45
 ·9· ·within the department to make decisions on.                                  10:49:47
 10· · · A· · Most of what we do is ultimately approved                            10:49:53
 11· ·by the front office, or we -- my office does a lot                           10:49:54
 12· ·of things.· I have decision-making authority over                            10:50:05
 13· ·our budget, travel, salaries, personnel issues.                              10:50:09
 14· · · Q· · Other matters or policy or practice where                            10:50:15
 15· ·you have decision-making authority?                                          10:50:19
 16· · · A· · Only insofar as what may go into a decision                          10:50:29
 17· ·memo, but ultimately that's not my -- my                                     10:50:32
 18· ·decision-making authority.                                                   10:50:35
 19· · · Q· · Who do you communicate with most in your                             10:50:38
 20· ·current role?                                                                10:50:40
 21· · · A· · My Deputy Nathan Stiefel, my senior advisor                          10:50:45
 22· ·Robert Law.                                                                  10:50:49
 23· · · Q· · I'm sorry.· Was Nathan -- how long has                               10:50:54
 24· ·Nathan Stiefel been at the department?                                       10:50:56
 25· · · A· · He was recently selected this year, so in                            10:51:03


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 12 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 59

 ·1· ·the last six months has he been deputy.                                      10:51:05
 ·2· · · Q· · And where was he before that?                                        10:51:09
 ·3· · · A· · He was in the Office of Citizenship within                           10:51:15
 ·4· ·USCIS.                                                                       10:51:18
 ·5· · · Q· · For -- for approximately how long, to the                            10:51:18
 ·6· ·extent that you know?                                                        10:51:22
 ·7· · · A· · Years.· It may have been before 2008.                                10:51:22
 ·8· · · Q· · Okay.· You'd mentioned in response to my                             10:51:32
 ·9· ·question about who you communicate with most Mr. Law                         10:51:33
 10· ·and Mr. Stiefel.· Are there others?                                          10:51:36
 11· · · A· · I communicate with them all.· I communicate                          10:51:39
 12· ·with them all.                                                               10:51:47
 13· · · Q· · How often when Mr. Kelly was the DHS                                 10:51:48
 14· ·secretary, did you communicate with the DHS                                  10:51:54
 15· ·secretary in your current role?                                              10:51:56
 16· · · A· · Infrequently.                                                        10:51:58
 17· · · Q· · How would you define infrequently?                                   10:52:00
 18· · · A· · I don't recall a time when I directly                                10:52:04
 19· ·communicated with him.                                                       10:52:06
 20· · · Q· · And with -- when Acting Secretary Duke was                           10:52:09
 21· ·acting secretary, how often did you communicate with                         10:52:17
 22· ·her?                                                                         10:52:21
 23· · · A· · Not frequently.· I would say a handful of                            10:52:21
 24· ·times.                                                                       10:52:23
 25· · · Q· · When you communicated with then Acting                               10:52:24


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 13 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 68

 ·1· · · · · ·I have a standing meeting every other week                           11:03:20
 ·2· ·with my managers, all the chiefs of the divisions.                           11:03:22
 ·3· ·I have a standing meeting -- I have standing                                 11:03:35
 ·4· ·meetings depending on if there are PCCs at the White                         11:03:37
 ·5· ·House.· Those might be standing, you know, every                             11:03:46
 ·6· ·month.                                                                       11:03:49
 ·7· · · Q· · Sorry.· What is PCC?                                                 11:03:49
 ·8· · · A· · I'm sorry.· I don't even know what it                                11:03:50
 ·9· ·stands for.· Policy coordinating committee.· It's an                         11:03:52
 10· ·interagency meeting.                                                         11:03:56
 11· · · Q· · Who attends those meetings?                                          11:04:00
 12· · · A· · It could be a variety of staff depending on                          11:04:01
 13· ·the topic.· Those were in place before this                                  11:04:04
 14· ·administration.· It's a way to bring the                                     11:04:06
 15· ·interagencies together to talk about certain issues,                         11:04:08
 16· ·and then there's a standing meeting on Fridays --                            11:04:11
 17· · · Q· · Sorry.· Just to be clear, the PCC meetings                           11:04:16
 18· ·will have sort of different agenda items --                                  11:04:19
 19· · · A· · Yes.                                                                 11:04:21
 20· · · Q· · -- and then depending on what the agenda                             11:04:21
 21· ·item is, different people will come?                                         11:04:24
 22· · · A· · Right.· And then we do an immigration                                11:04:26
 23· ·meeting at the Executive Office Building or the                              11:04:35
 24· ·White House on Fridays.                                                      11:04:40
 25· · · Q· · Who attends that meeting?                                            11:04:41


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 14 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 69

 ·1· · · A· · It's myself -- U.S. Citizenship and                                  11:04:43
 ·2· ·Immigration Services could be represented by myself,                         11:04:48
 ·3· ·Craig Symons, or Robert Law.                                                 11:04:51
 ·4· · · Q· · And who else attends?                                                11:05:03
 ·5· · · A· · There are officials from the Domestic                                11:05:04
 ·6· ·Policy Council as well as Department of Justice.                             11:05:06
 ·7· · · Q· · Who from the Domestic Policy Council                                 11:05:08
 ·8· ·attends?                                                                     11:05:11
 ·9· · · A· · Well, it has varied over time because staff                          11:05:11
 10· ·come and go, but John Zadrozny, Theo Wold --                                 11:05:14
 11· · · Q· · Sorry.· Theo Wold?                                                   11:05:20
 12· · · A· · Wold, W-O-L-D.· Morgan Hunter.· There's                              11:05:22
 13· ·been a variety.· I mean, a number of staff.                                  11:05:32
 14· · · Q· · And who from the Department of Justice is                            11:05:41
 15· ·usually there?                                                               11:05:45
 16· · · A· · Dave Whetstone, Chad Mizelle.                                        11:05:46
 17· · · Q· · Mizelle or Yizelle?                                                  11:05:55
 18· · · A· · Mizelle.· There are other Department of                              11:05:59
 19· ·Homeland Security directorates.· I should note that                          11:06:13
 20· ·the Immigration Customs Enforcement as well as                               11:06:15
 21· ·Office of Policy within the Department of Homeland                           11:06:16
 22· ·Security also attends at times.· And potentially the                         11:06:18
 23· ·Department of State may have a represent- --                                 11:06:23
 24· ·representative.                                                              11:06:25
 25· · · Q· · Mm-hmm.· Does anyone come from the White                             11:06:25


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 15 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 70

 ·1· ·House besides the Domestic Policy Council?                                   11:06:28
 ·2· · · A· · Aside from -- well, Stephen Miller will                              11:06:37
 ·3· ·attend.                                                                      11:06:39
 ·4· · · Q· · Regularly?                                                           11:06:40
 ·5· · · A· · Pretty regularly.                                                    11:06:44
 ·6· · · Q· · Anyone else?                                                         11:06:50
 ·7· · · A· · Not that I can think of.· I think they all                           11:06:51
 ·8· ·work for the Domestic Policy Council.                                        11:06:54
 ·9· · · Q· · Okay.· Has TPS ever come up in that White                            11:06:56
 10· ·House immigration meeting?                                                   11:07:00
 11· · · A· · If anything, it's mentioned in passing that                          11:07:01
 12· ·decisions are coming up, but we don't discuss TPS                            11:07:03
 13· ·normally.· These are --                                                      11:07:06
 14· · · Q· · Are --                                                               11:07:11
 15· · · A· · These are issues that we discuss with the                            11:07:12
 16· ·Department of Justice.                                                       11:07:14
 17· · · Q· · Sorry.· The issues at the White House --                             11:07:15
 18· ·immi- -- at the White House immigration meeting are                          11:07:19
 19· ·issues that you discuss with Department of Justice                           11:07:21
 20· ·or you discuss TPS with Department of Justice?                               11:07:24
 21· · · A· · No.· It's issues normally that involve both                          11:07:27
 22· ·homeland and the Department of Justice.                                      11:07:31
 23· · · Q· · Okay.· Which of your standing meetings                               11:07:33
 24· ·would be -- if -- if any of your standing meetings                           11:07:44
 25· ·would be meetings where TPS was discussed, which                             11:07:50


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 16 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 77

 ·1· ·know, policy and practice has been when a country                            11:16:35
 ·2· ·that has already been designated for TPS is up for                           11:16:37
 ·3· ·review in these periodic reviews, what would you                             11:16:42
 ·4· ·look to to determine whether the TPS should be                               11:16:46
 ·5· ·extended, terminated, or no decision would be made?                          11:16:50
 ·6· · · A· · I think to answer that question, you need                            11:16:55
 ·7· ·to understand the processes, and that includes                               11:16:56
 ·8· ·the -- the research done by USCIS as well as the                             11:17:02
 ·9· ·Department of State.· The criteria used are the                              11:17:07
 10· ·legal standards under the statute, and the best                              11:17:13
 11· ·evidence is what is in those decision memos and                              11:17:17
 12· ·research.                                                                    11:17:19
 13· · · Q· · Were you given any guidance when you                                 11:17:35
 14· ·started at USCIS with regard to how TPS periodic                             11:17:38
 15· ·reviews are conducted?                                                       11:17:43
 16· · · A· · There's no standard policy, no written                               11:17:45
 17· ·policy or guidance, and no training.                                         11:17:47
 18· · · Q· · Do you know if there ever has been any                               11:17:59
 19· ·standard written policy guidance?                                            11:18:02
 20· · · A· · Not that I'm aware of.                                               11:18:02
 21· · · Q· · Any training that has taken place with                               11:18:08
 22· ·regard to TPS periodic reviews?                                              11:18:10
 23· · · A· · Not that I'm aware of.                                               11:18:14
 24· · · Q· · When you started in your current position                            11:18:29
 25· ·as chief at USCIS, you got into the weeds in TPS                             11:18:30


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 17 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 78

 ·1· ·very quickly.· Were you given any directives or                              11:18:34
 ·2· ·guidance from the secretary or the -- I think then                           11:18:37
 ·3· ·acting director about how you should move forward                            11:18:42
 ·4· ·with regard to TPS?                                                          11:18:46
 ·5· · · A· · Not to kick start our interagency review                             11:18:47
 ·6· ·process.· I -- for that process I deferred to my                             11:18:50
 ·7· ·staff who had been there, the subject matter experts                         11:18:53
 ·8· ·to kick start that process.                                                  11:18:55
 ·9· · · Q· · Were you given any guidance about any --                             11:18:56
 10· ·beyond kick starting the process, but how you from                           11:19:05
 11· ·your position as chief and how CIS would look at TPS                         11:19:07
 12· ·periodic reviews and determinations?                                         11:19:12
 13· · · A· · Not that I recall.                                                   11:19:13
 14· · · Q· · What do you understand about the intents --                          11:19:25
 15· ·and I think just a few more questions and then we                            11:19:27
 16· ·can take a break.                                                            11:19:29
 17· · · · · ·What do you understand about the intents of                          11:19:31
 18· ·the TPS statute beyond what's written on the paper?                          11:19:32
 19· · · · · ·MR. TYLER:· Objection, vague.· Calls for a                           11:19:34
 20· ·legal conclusion.                                                            11:19:42
 21· · · · · ·THE WITNESS:· You want me to opine on                                11:19:42
 22· ·the -- the legality or the --                                                11:19:45
 23· ·BY MS. MACLEAN:                                                              11:19:45
 24· · · Q· · No.                                                                  11:19:45
 25· · · A· · -- the purpose behind what Congress was                              11:19:47


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 18 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 79

 ·1· ·intending?                                                                   11:19:49
 ·2· · · Q· · Yes, not the legality of it, but the -- the                          11:19:50
 ·3· ·purpose.· What do you understand that the TPS                                11:19:53
 ·4· ·statute is intended to achieve?                                              11:19:56
 ·5· · · · · ·MR. TYLER:· I'll object.· This goes beyond                           11:20:02
 ·6· ·the 30(b)(6) scope.· You're asking this question of                          11:20:05
 ·7· ·her as a fact witness, if you will, asking her                               11:20:07
 ·8· ·opinion.                                                                     11:20:10
 ·9· ·BY MS. MACLEAN:                                                              11:20:14
 10· · · Q· · What is the agency's position about the                              11:20:14
 11· ·intent of the statute?                                                       11:20:16
 12· · · · · ·MR. TYLER:· I'll object to that as beyond                            11:20:17
 13· ·the scope of the 30(b)(6) notice.· She's speaking as                         11:20:19
 14· ·a fact witness now, speaking to her own opinion.                             11:20:24
 15· · · · · ·THE WITNESS:· The temporary protected                                11:20:32
 16· ·status was created by Congress in order to give                              11:20:35
 17· ·temporary relief to individuals in the United                                11:20:37
 18· ·States.                                                                      11:20:43
 19· ·BY MS. MACLEAN:                                                              11:20:43
 20· · · Q· · When you read that, I noticed that you                               11:20:44
 21· ·emphasized temporary.· Was there -- is that correct?                         11:20:46
 22· · · A· · Temporary -- it -- it does say temporary,                            11:20:48
 23· ·yes.· I emphasized it.                                                       11:20:53
 24· · · Q· · And is there a reason that you emphasized                            11:20:55
 25· ·temporary?                                                                   11:20:58


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 19 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018                Page 80

 ·1· · · A· · Because it's not a long-term legal status.                           11:20:58
 ·2· ·It's a temporary status.· There's no reason I --                             11:21:01
 ·3· · · Q· · Is that the agency's position as well                                11:21:14
 ·4· ·that -- that there's an emphasis and importance on                           11:21:19
 ·5· ·the temporary nature of the status?                                          11:21:21
 ·6· · · · · ·MR. TYLER:· Objection.· It is beyond the                             11:21:24
 ·7· ·30(b)(6) scope.· You are asking these questions of                           11:21:25
 ·8· ·this witness now as a fact witness.· She can only                            11:21:29
 ·9· ·provide her own individual opinion.                                          11:21:31
 10· · · · · ·THE WITNESS:· I emphasized temporary                                 11:21:37
 11· ·because I think Congress intended to provide                                 11:21:45
 12· ·temporary relief to individuals who are in the                               11:21:47
 13· ·United States and to protect them if there was an                            11:21:49
 14· ·event or a reason for their not being able to                                11:21:58
 15· ·return.                                                                      11:22:01
 16· ·BY MS. MACLEAN:                                                              11:22:01
 17· · · Q· · Have you had conversations with people in                            11:22:01
 18· ·the department about the fact that the -- the                                11:22:06
 19· ·temporary nature of TPS status should be emphasized                          11:22:12
 20· ·or prioritized?                                                              11:22:17
 21· · · · · ·MR. TYLER:· Same objection.· Beyond the                              11:22:18
 22· ·scope of the 30(b)(6).                                                       11:22:20
 23· · · · · ·THE WITNESS:· The one time I recall                                  11:22:32
 24· ·emphasizing temporary would be in communicating our                          11:22:32
 25· ·decisions to the public that it was a temporary                              11:22:41


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 20 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 107

 ·1· ·international operations directorate, also known as                          12:18:31
 ·2· ·RAIO.· This evaluation team consists of maybe a                              12:18:37
 ·3· ·dozen people that do -- their job is to do country                           12:18:40
 ·4· ·condition reports for their directorate and for the                          12:18:43
 ·5· ·work that they do, and we utilize them to provide                            12:18:45
 ·6· ·country conditions on particular countries.· So we                           12:18:49
 ·7· ·reach out to them and ask for their input.                                   12:18:55
 ·8· · · · · ·We also -- my staff reaches out to the                               12:18:59
 ·9· ·State Department to get their -- to get them to                              12:19:01
 10· ·consider a country condition assessment.                                     12:19:06
 11· · · Q· · Sorry.· Around what time do you reach out                            12:19:08
 12· ·to the State Department?                                                     12:19:10
 13· · · A· · It could be any time in advance of the 60                            12:19:11
 14· ·days.· It most likely could be six months in                                 12:19:13
 15· ·advance.· Enough time to do the research, to compile                         12:19:19
 16· ·it, and to present it in a decision memo draft.                              12:19:21
 17· · · · · ·My staff begins to write the -- to write                             12:19:27
 18· ·the draft decision memo with that input.· It is                              12:19:31
 19· ·then --                                                                      12:19:41
 20· · · Q· · Sorry.· Who from your staff writes that                              12:19:41
 21· ·decision memo?                                                               12:19:44
 22· · · A· · It could be one of my two or three subject                           12:19:44
 23· ·matter experts, Brandon, Kathryn.· Yeah.                                     12:19:48
 24· · · · · ·Once they are done writing a draft -- I                              12:19:54
 25· ·should note that they also reach out to other --                             12:19:57


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 21 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 108

 ·1· ·maybe our Office of Performance and Quality that --                          12:19:59
 ·2· ·that tracks data.· They reach out to our service                             12:20:05
 ·3· ·center operations.· They adjudicate TPS requests as                          12:20:11
 ·4· ·well as adjudicate employment authorization                                  12:20:18
 ·5· ·documents that go along with it, and they may                                12:20:20
 ·6· ·provide input as to the number of people who                                 12:20:22
 ·7· ·register and apply for EADs, employment                                      12:20:25
 ·8· ·authorization documents.                                                     12:20:34
 ·9· · · · · ·The team may also reach out to other                                 12:20:34
 10· ·components within Department of Homeland Security,                           12:20:37
 11· ·including the Office of Immigration Statistics, who                          12:20:39
 12· ·keeps all statistics for the department on                                   12:20:43
 13· ·immigration.· They may reach out to Immigration and                          12:20:47
 14· ·Customs Enforcement to get a better understanding                            12:20:51
 15· ·and data on removals to that country.                                        12:20:56
 16· · · · · ·So all of that research is compiled into a                           12:21:11
 17· ·decision memo.· That decision memo then is drafted                           12:21:12
 18· ·for my review, although my senior advisor may look                           12:21:16
 19· ·at it and may have edits and return it back to the                           12:21:20
 20· ·subject matter experts to make those edits.                                  12:21:23
 21· · · Q· · Sorry.· Who would -- who would make edits?                           12:21:27
 22· · · A· · My senior advisor Robert Law.· Generally, I                          12:21:30
 23· ·like to meet with my staff to go over their first                            12:21:35
 24· ·draft to get briefed on the country conditions, to                           12:21:37
 25· ·understand the history of the designation.· At which                         12:21:41


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 22 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 111

 ·1· ·together data from various different sources within                          12:24:24
 ·2· ·the Department of Homeland Security?                                         12:24:27
 ·3· · · A· · They rely on the research unit.· They may                            12:24:28
 ·4· ·receive data from other -- other sources that they                           12:24:32
 ·5· ·talk to our research unit about to verify.· There                            12:24:35
 ·6· ·may be statistics or -- or information provided by a                         12:24:39
 ·7· ·stakeholder group or maybe it's included in a                                12:24:42
 ·8· ·letter.· They may look at that and ask the research                          12:24:45
 ·9· ·unit to verify, and that may be included in the                              12:24:48
 10· ·research.                                                                    12:24:50
 11· · · Q· · And then the subject matter experts are                              12:24:54
 12· ·ultimately responsible for drafting the memo that                            12:24:57
 13· ·then goes to you and your senior advisor?                                    12:25:00
 14· · · A· · Correct.                                                             12:25:02
 15· · · Q· · And the senior advisor makes the first set                           12:25:02
 16· ·of edits to the --                                                           12:25:06
 17· · · A· · Generally.                                                           12:25:07
 18· · · Q· · Generally.· And then it goes back to the                             12:25:08
 19· ·subject matter experts?                                                      12:25:10
 20· · · A· · Yes.· I mean, at times they'll share it                              12:25:11
 21· ·with me to make sure that I agree with his edits,                            12:25:18
 22· ·and most of the time I defer to his edits or -- or                           12:25:21
 23· ·ask him to ask the subject matter experts to                                 12:25:26
 24· ·adjudicate them.                                                             12:25:29
 25· · · Q· · Okay.· And then after the subject matter                             12:25:34


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 23 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 137

 ·1· ·written in conjunction with Service Center                                   13:43:48
 ·2· ·Operations.· That draft is provided to my senior                             13:43:54
 ·3· ·advisor.· Those comments are adjudicated.· Then it's                         13:43:57
 ·4· ·provided to me.                                                              13:44:04
 ·5· · · Q· · Just to confirm because you have two senior                          13:44:05
 ·6· ·advisors, the senior advisor is the same Mr. Law who                         13:44:08
 ·7· ·is involved in the Federal Register process?                                 13:44:13
 ·8· · · A· · So my senior advisor -- I have one senior                            13:44:16
 ·9· ·advisor and -- at two different times, so like I                             13:44:18
 10· ·said, up until October it was -- it was Lawrence                             13:44:23
 11· ·Levine --                                                                    13:44:25
 12· · · Q· · It was, sorry, who?                                                  13:44:25
 13· · · A· · Lawrence Levine.                                                     13:44:27
 14· · · Q· · Okay.                                                                13:44:28
 15· · · A· · And then after around October it became                              13:44:28
 16· ·Robert Law.                                                                  13:44:30
 17· · · Q· · Oh, okay.                                                            13:44:31
 18· · · A· · So generally it goes through that same                               13:44:36
 19· ·review, and we adjudicate comments with our subject                          13:44:38
 20· ·matter experts.                                                              13:44:41
 21· · · Q· · And just so that I don't ask again,                                  13:44:41
 22· ·whenever you mention senior advisor, you're talking                          13:44:44
 23· ·about, depending on the time period, either                                  13:44:47
 24· ·Mr. Levine or Mr. Law?                                                       13:44:49
 25· · · A· · That is correct.                                                     13:44:51


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 24 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 138

 ·1· · · Q· · Okay.· And then what happens after comments                          13:44:52
 ·2· ·have been adjudicated?                                                       13:44:54
 ·3· · · A· · So because the Federal Register Notice                               13:44:56
 ·4· ·impacts other components, including the Service                              13:45:00
 ·5· ·Center Operations which adjudicates the registration                         13:45:07
 ·6· ·in the employment authorization documents, they                              13:45:12
 ·7· ·would review it, but so would our division.· It's                            13:45:14
 ·8· ·known as IRIS.· The acronym stands for identity and                          13:45:16
 ·9· ·records division.· I can't remember what it stands                           13:45:20
 10· ·for, IRIS.· They do verification issues and would                            13:45:27
 11· ·have input as well.                                                          13:45:31
 12· · · · · ·And so that Federal Register Notice is                               13:45:37
 13· ·circulated in a formal process called the G-1056                             13:45:39
 14· ·process, where it goes to the executive secretariat.                         13:45:43
 15· ·That executive secretariat tasks each component to                           13:45:46
 16· ·review it.· The executive secretariat collects those                         13:45:49
 17· ·comments and returns it to my subject matter experts                         13:45:52
 18· ·to adjudicate those comments.                                                13:45:57
 19· · · Q· · Sorry.· And who are the comments from?                               13:45:58
 20· · · A· · So all those comments are from agency                                13:46:01
 21· ·partners.· It could be from the IRIS division, the                           13:46:03
 22· ·SCOPS division.· It could be from the Refugee and                            13:46:07
 23· ·Asylum International Operations unit.· It could be                           13:46:10
 24· ·from -- it's mostly the chief counsel's office.· So                          13:46:13
 25· ·all of the comments from the interagency clearance                           13:46:23


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 25 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 139

 ·1· ·process, that formal clearance are consolidated by                           13:46:26
 ·2· ·the executive secretariat.                                                   13:46:33
 ·3· · · Q· · And is that -- is that formal clearance                              13:46:37
 ·4· ·process established somewhere?                                               13:46:41
 ·5· · · A· · It is.· It's established within the                                  13:46:45
 ·6· ·executive secretariat.                                                       13:46:47
 ·7· · · Q· · Is it required for Federal Register Notice                           13:46:48
 ·8· ·or for final decision?                                                       13:46:51
 ·9· · · A· · I think it's agency policy.                                          13:46:54
 10· · · Q· · Okay.                                                                13:46:55
 11· · · A· · And then that G-1056 clearance is a normal                           13:47:02
 12· ·clearance process that we use for almost everything.                         13:47:06
 13· · · Q· · Okay.· So that formal clearance process,                             13:47:13
 14· ·what are they formally clearing?· Is that a review                           13:47:15
 15· ·of the Federal Register Notice?                                              13:47:22
 16· · · A· · Exactly.                                                             13:47:24
 17· · · Q· · And then once that federal -- once that                              13:47:25
 18· ·agency -- that G-1056 for the Federal Register                               13:47:27
 19· ·Notice is finalized, what's the next step?                                   13:47:30
 20· · · A· · Then it would go to the front office for                             13:47:32
 21· ·review.· So that front office would entail the                               13:47:35
 22· ·director senior -- this is USCIS front office.· It                           13:47:38
 23· ·would entail the senior advisor, the chief of staff,                         13:47:42
 24· ·maybe the deputy chief of staff.                                             13:47:42
 25· · · · · ·I'm sorry.· It would entail front office                             13:47:48


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 26 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 140

 ·1· ·review which includes senior advisors, chief of                              13:47:49
 ·2· ·staff, deputy chief of staff, the deputy director,                           13:47:52
 ·3· ·and then ultimately the director.                                            13:48:01
 ·4· · · Q· · And the G-1056 process, is that within the                           13:48:08
 ·5· ·agency or --                                                                 13:48:12
 ·6· · · A· · Just within U.S. Citizenship and                                     13:48:12
 ·7· ·Immigration Services.                                                        13:48:18
 ·8· · · Q· · Okay.· And that review within the front                              13:48:18
 ·9· ·office is all those people that you mentioned are                            13:48:21
 10· ·also within CIS?                                                             13:48:24
 11· · · A· · Yes.                                                                 13:48:25
 12· · · Q· · And after that process -- oh, sorry.                                 13:48:25
 13· · · · · ·In the USCIS front office review process,                            13:48:27
 14· ·what are they reviewing?                                                     13:48:30
 15· · · A· · The Federal Register Notice.                                         13:48:32
 16· · · Q· · Okay.· And then what's the next step after                           13:48:34
 17· ·that?                                                                        13:48:40
 18· · · A· · After the director is satisfied with the                             13:48:40
 19· ·notice, if he has changes or edits, we adjudicate                            13:48:44
 20· ·them, but when he's ultimately happy with it and he                          13:48:48
 21· ·clears it, it is transferred by the executive                                13:48:52
 22· ·secretariat -- you know what, I misspoke, because                            13:48:55
 23· ·there is a process -- a G-1056 process by the                                13:49:01
 24· ·executive secretariat, but there's also a process                            13:49:03
 25· ·our Regulatory Coordination Division undertakes.                             13:49:07


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 27 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 161

 ·1· · · Q· · Do you remember what this was in response                            14:17:48
 ·2· ·to?                                                                          14:17:49
 ·3· · · A· · As I stated, it's probably in response to                            14:17:51
 ·4· ·the secretary wanting the input of other federal                             14:17:54
 ·5· ·agency partners in the review process.                                       14:18:06
 ·6· · · Q· · Yeah.· Okay.· Thank you for bearing with me                          14:18:29
 ·7· ·with all those names.                                                        14:18:31
 ·8· · · · · ·So I'm not going to make you go through the                          14:18:41
 ·9· ·entire history of -- from 2008 till the present of                           14:18:44
 10· ·exactly what that process looks like in as much                              14:18:47
 11· ·detail, but I know that you wanted to say something                          14:18:51
 12· ·about what the process was and how it differed or                            14:18:54
 13· ·didn't differ prior to 2017.                                                 14:18:55
 14· · · A· · Sure.· I think it's important to know that                           14:18:58
 15· ·when I came in, again, I deferred to my staff who                            14:19:00
 16· ·have done this since about 2008, and so because you                          14:19:03
 17· ·had asked about it.· The process was regular --                              14:19:06
 18· ·pretty similar.· There is a decision memo, there's a                         14:19:09
 19· ·Federal Register Notice.· However, in the previous                           14:19:15
 20· ·administration, a decision memo was written in                               14:19:18
 21· ·conjunction at the same time as the Federal Register                         14:19:23
 22· ·Notice, and that -- that Federal Register Notice,                            14:19:34
 23· ·which was cleared by all the relevant personnel, you                         14:19:40
 24· ·know, that I mentioned earlier, but that went to OMB                         14:19:45
 25· ·prior to the decision-making.                                                14:19:48


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 28 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 162

 ·1· · · Q· · Why do you think that process changed?                               14:19:58
 ·2· · · A· · When I came in as chief, the -- the                                  14:19:58
 ·3· ·decision memo was written and because I did not want                         14:20:03
 ·4· ·staff to expend resources to write a Federal                                 14:20:10
 ·5· ·Register Notice that went in three or four different                         14:20:13
 ·6· ·directions for every option available, I asked them                          14:20:15
 ·7· ·to withhold writing the Federal Register Notice                              14:20:20
 ·8· ·until a decision was made.                                                   14:20:21
 ·9· · · Q· · To make sure I understand correctly, the                             14:20:24
 10· ·Federal Register Notice in previous administrations,                         14:20:26
 11· ·it was -- what was sent to the OMB before the                                14:20:32
 12· ·decision was made was not just one Federal Register                          14:20:33
 13· ·Notice, but various drafts of Federal Register                               14:20:36
 14· ·Notices?                                                                     14:20:40
 15· · · A· · I don't know how many they sent.· Maybe                              14:20:40
 16· ·they assumed that they knew what the decision was                            14:20:42
 17· ·and they only sent one.· If there were options, they                         14:20:44
 18· ·may have sent more.· It's -- I don't know.· But it's                         14:20:47
 19· ·during that OMB process where there's input from                             14:20:54
 20· ·other agencies during that decision process;                                 14:20:57
 21· ·whereas, now it's, you know, the decision of the                             14:21:00
 22· ·secretary and then it's sent to OMB.                                         14:21:02
 23· · · Q· · Okay.· In previous administrations when the                          14:21:10
 24· ·OMB received the Federal Register Notice or Notices,                         14:21:15
 25· ·would they then begin that interagency consultation                          14:21:22


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 29 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 163

 ·1· ·process prior to -- potentially prior to the                                 14:21:27
 ·2· ·decision actually being made?                                                14:21:29
 ·3· · · A· · Yes.                                                                 14:21:30
 ·4· · · Q· · And what would that consultation process                             14:21:31
 ·5· ·look like, to the extent that you know?                                      14:21:33
 ·6· · · A· · It's the same process I explained before                             14:21:37
 ·7· ·with the Federal Register Notice.· That is, it's                             14:21:40
 ·8· ·sent to agency partners that may have a stake in it.                         14:21:41
 ·9· ·Again, it could be the Department of State.· It                              14:21:44
 10· ·could be the Department of Defense.· It could be the                         14:21:46
 11· ·Department of Justice.· It could be the Department                           14:21:48
 12· ·of Health and Human Services if it had to deal with                          14:21:54
 13· ·Ebola so -- and also to the executive office.               I                14:21:55
 14· ·understand that they're part of the review as well.                          14:21:58
 15· · · Q· · Are there other changes from 2007 -- how                             14:22:07
 16· ·the TPS decisions were made from 2007 to the present                         14:22:12
 17· ·as compared to prior to 2017?                                                14:22:15
 18· · · A· · No.· For -- for the most part, because the                           14:22:17
 19· ·subject matter experts who were there in the                                 14:22:21
 20· ·previous administration were also there for the last                         14:22:22
 21· ·several decisions, the process mainly remained the                           14:22:28
 22· ·same.· They shifted slightly, but it had to deal                             14:22:33
 23· ·with, you know, what time -- or the timing of a                              14:22:35
 24· ·State Department recommendation and assessment, you                          14:22:39
 25· ·know, but overall the process was generally the                              14:22:46


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 30 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 164

 ·1· ·same.                                                                        14:22:48
 ·2· · · Q· · Okay.· And that shift to sending the                                 14:22:48
 ·3· ·Federal Register Notice to the OMB earlier, that was                         14:22:55
 ·4· ·a shift that you initiated?                                                  14:22:57
 ·5· · · A· · Yes.                                                                 14:22:58
 ·6· · · Q· · When did you initiate that?                                          14:23:00
 ·7· · · A· · I -- I believe it -- the first decision                              14:23:08
 ·8· ·that came when I was chief of the Office of Policy                           14:23:09
 ·9· ·was Haiti.· I believe that it shifted after that                             14:23:12
 10· ·when we weren't sure what the decision was going to                          14:23:22
 11· ·be.                                                                          14:23:33
 12· · · Q· · Did there have to be an approval for that                            14:23:33
 13· ·decision to not send the Federal Register Notice to                          14:23:36
 14· ·OMB earlier?                                                                 14:23:39
 15· · · A· · No.· I made that decision.                                           14:23:40
 16· · · Q· · Were all stakeholders, including OMB but                             14:23:53
 17· ·also the other agencies, consulted at all in that                            14:23:57
 18· ·process -- in that shift in process?                                         14:23:59
 19· · · A· · Yes.· The Office of General Counsel was                              14:24:02
 20· ·consulted because they were used to seeing the                               14:24:04
 21· ·Federal Register Notice behind the decision memo.                            14:24:06
 22· · · Q· · And when you say Office of General Counsel,                          14:24:09
 23· ·do you mean the Office of General Counsel --                                 14:24:11
 24· · · A· · At the department of Homeland Security.                              14:24:12
 25· · · Q· · -- at the Department of Homeland Security?                           14:24:14


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 31 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 227

 ·1· · · · · ·Do you know who Tom B. might refer to?                               16:30:17
 ·2· · · · · ·MR. TYLER:· Same objections.· Outside of                             16:30:23
 ·3· ·scope.· She's asked to interpret a communication                             16:30:26
 ·4· ·that she was not part of.· You're asking for                                 16:30:29
 ·5· ·speculation.                                                                 16:30:31
 ·6· · · · · ·MS. MACLEAN:· Your objection is noted.                               16:30:31
 ·7· · · · · ·THE WITNESS:· I can only speculate that Tom                          16:30:33
 ·8· ·B. is Tom Bossert.                                                           16:30:35
 ·9· ·BY MS. MACLEAN:                                                              16:30:36
 10· · · Q· · And who is Tom Bossert?                                              16:30:36
 11· · · A· · I don't know his official title, but I                               16:30:39
 12· ·think he's with the National Security Council.                               16:30:42
 13· · · Q· · And why would you think it's Tom Bossert?                            16:30:44
 14· · · A· · Because I think she had a meeting or                                 16:30:46
 15· ·conversed with Tom Bossert at some point in time on                          16:31:00
 16· ·decisions.                                                                   16:31:04
 17· · · Q· · Why do you think that?                                               16:31:05
 18· · · A· · It would not be shocking to seek the advice                          16:31:10
 19· ·of National Security Council.                                                16:31:13
 20· · · Q· · With regard to TPS, why would it not be                              16:31:18
 21· ·shocking to seek the advice of the National Security                         16:31:21
 22· ·Council?                                                                     16:31:25
 23· · · A· · Because they are a federal partner.                                  16:31:25
 24· · · Q· · Is the National Security Council's advice                            16:31:26
 25· ·frequently sought prior to a final decision with                             16:31:29


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 32 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 243

 ·1· ·BY MS. MACLEAN:                                                              16:54:20
 ·2· · · Q· · So you're reading the statute right now.                             16:54:20
 ·3· ·When you read the statute, how do you interpret the                          16:54:24
 ·4· ·sentence that you just read?                                                 16:54:30
 ·5· · · A· · The attorney general or the secretary now                            16:54:33
 ·6· ·in order to designate one of the prongs for                                  16:54:44
 ·7· ·designation consideration is whether the state is                            16:54:47
 ·8· ·able to adequately return -- adequately handle the                           16:54:48
 ·9· ·return of its aliens.                                                        16:54:52
 10· · · Q· · You said previously that Ambassador                                  16:54:57
 11· ·Nealon's memo does not comport with the statute; is                          16:55:02
 12· ·that correct?                                                                16:55:04
 13· · · A· · I would note that even though he tries to                            16:55:05
 14· ·make a case that they cannot adequately handle, I                            16:55:09
 15· ·think the case as shown that in this sentence in                             16:55:13
 16· ·this memo, in the case of Honduras, for example,                             16:55:17
 17· ·they received approximately 80,000 returnees in both                         16:55:19
 18· ·2015 and 2016.· The number of people removed to the                          16:55:22
 19· ·northern triangle has been quite large.                                      16:55:25
 20· · · Q· · So is it correct to say that you -- you                              16:55:36
 21· ·read this as inconsistent with the criterion --                              16:55:37
 22· ·sorry -- you read this as Ambassador Nealon raising                          16:55:44
 23· ·concerns about the termination that are not relevant                         16:55:49
 24· ·under the statute that created temporary protected                           16:55:52
 25· ·status?                                                                      16:55:56


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
    Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 33 of 34


                 KATHY NUEBEL KOVARIK - 08/03/2018              Page 244

 ·1· · · · · ·MR. TYLER:· Objection, vague.                                        16:55:57
 ·2· · · · · ·THE WITNESS:· You're asking if I consider                            16:56:03
 ·3· ·the points that he raised would be relevant                                  16:56:04
 ·4· ·criteria?                                                                    16:56:09
 ·5· ·BY MS. MACLEAN:                                                              16:56:09
 ·6· · · Q· · Yes.· That's my question.                                            16:56:09
 ·7· · · A· · I think there may be points in here that                             16:56:11
 ·8· ·are not relevant.                                                            16:56:15
 ·9· · · Q· · What are the points that are not relevant                            16:56:15
 10· ·in here?                                                                     16:56:17
 11· · · A· · Data shows that TPS recipients have a very                           16:56:32
 12· ·high workforce participation rate, much higher than                          16:56:35
 13· ·the national average is one example.· TPS recipients                         16:56:40
 14· ·have jobs, have gotten married, have many thousands                          16:56:42
 15· ·of American citizen children.· Work legally in great                         16:56:46
 16· ·numbers.· Pay taxes.· Own homes.· Own businesses and                         16:56:54
 17· ·live the American dream minus a path to citizenship.                         16:56:57
 18· ·I'll stop there.· Those are examples.                                        16:57:11
 19· · · Q· · Can you elaborate in the second paragraph                            16:57:14
 20· ·and third paragraphs -- and this will be the last                            16:57:18
 21· ·point on this document, but what portions of those                           16:57:20
 22· ·paragraphs are inconsistent with the statute?                                16:57:24
 23· · · · · ·MR. TYLER:· What paragraphs are you on?                              16:57:27
 24· · · · · ·MS. MACLEAN:· The Working Against Ourselves                          16:57:28
 25· ·and Foreign Policy Considerations.                                           16:57:30


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com         YVer1f
      Case 3:18-cv-01554-EMC Document 122-18 Filed 09/20/18 Page 34 of 34


                   KATHY NUEBEL KOVARIK - 08/03/2018              Page 289

 ·1· · ·CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC
 ·2· · · · · I, Joan V. Cain, Court Reporter, the officer
 ·3· ·before whom the foregoing deposition was taken, do
 ·4· ·hereby certify that Kathy Nuebel Kovarik personally
 ·5· ·appeared before me on August 3, 2018 and was duly
 ·6· ·sworn; that the foregoing transcript is a true and
 ·7· ·correct record of the testimony given; that said
 ·8· ·testimony was taken by me stenographically and
 ·9· ·thereafter reduced to typewriting under my
 10· ·direction; that reading and signing was not
 11· ·requested; and that I am neither counsel for,
 12· ·related to, nor employed by any of the parties to
 13· ·this case and have no interest, financial or
 14· ·otherwise, in its outcome.
 15· · · · · IN WITNESS WHEREOF, I have hereunto set my
 16· ·hand and affixed my notarial seal this 6th day of
 17· ·August 2018.
 18
 19· ·My commission expires:
 20· ·July 31, 2019
 21· ·____________________________
 22· ·NOTARY PUBLIC IN AND FOR THE
 23· ·DISTRICT OF COLUMBIA
 24
 25


         Epiq Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com
